EXHIBIT A-7

 

AHidaVit of Allen Brockmann

State of Idaho )
County of Idaho )
I, Allen Brockmann, the Affiant, a resident of the State of Idaho, being over the age of

18 years and competent to testify, according to my own personal knowledge, upon oath, state
pursuant to 28 USC §1746, as follows:

1. I am currently a resident of 13828 4ch Ave. West, Orofrno, Idaho 83 544.

2. I have known Elven Joe Swisher of Cottonwood, Idaho since 1957 when we were in the
U.S. Marine Corps together

3. In 2003, Joe Swisher contacted me and ask me to sign a letter regarding a “No Duty Chit”
that kept him from marching with a rifle while in the Marine Corps.

4. I learned from Joe that he had a heart attack with a pacemaker installed about a year before
he contacted me. Joe claimed he died on the operating table during surgery and had to be
revived with a deflbrillator.

5. When Joe Swisher approached me to sign the letter regarding thee No Duty Chit, he was
still sick from the eH`ects of the heart attack and surgery.

I declare under penalty of perjury that the foregoing is correct thisO_l/day of April,

MW@J%MW

Allen Brockmann

 

EXHIBIT A-S

 

m THE Uer'ED STATES` Dtst'rucr count

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moran srATt~:s or AMi-:RicA, ) ;
) . §
maintain ) cpc No. cR-o4-127-c{rtctz
V- )
) Aind¢vir or am s. casey
r)Avrn RoLAND ansoN, ) 1 3
> 5
Defendant. )

1, Ben S. Casey, of Caldwell, ldaho, a juror m the trial of the above case which took place
January 10-27, 2005, upon oath, depose and state as follows:

l. I am over the age of eighteen yearsiat the time of signing this Aftidavit and l am
qualified, competent and knowledgeable to providelthe information set forth herein.

2. l am aware that the Headquarterh of the U.S. Marine Corps considers the
“replacement” DD 214 military record to be a forgoiry, which record was produced by prosecution
witness Elven Joe Swisher (which lie waved in front of the jury stating that it was a “certiiied
copy.”) l am also advised that Mr. Swisher did not participate in a secret mission, did not have
combat experience and did not sustain injuries in l§orca as he testified _

3. l was surprised that Mr. Swisher silas allowed 'to tell such lies which created the
misirnpression that he would be a good “hit-mar;r‘;‘ candidate based on having been a decorated
combat veteran and having participated in secrct:r§>ost~Korean War rescue operations 1 am now

informed such missions never occurred These;l:ies discredit him as a witness and therefore
l

4. l relied upon the credibility of Mr.z Swisher when I cast my vote to convict Mr.
Hinkson of Counts Seven, Eight and Nine. '

5. Ifl had known that Mr. Swisher w'as not a credible witness as to his U.S. Marine

discredit the rest of his testimony

Corps service in secret missions, or that he lied about having had combat experience, or that he
was not entitled to wear a Purple Heart, or that the military record he waved in front of the jury as
a “certitied copy” of his DD 214 was a forgery, 1 would not have voted for a guilty verdict on
Counts Seven, Eight and Nine

FURTHER AFFlANT SAYE']`H NAUGHT.

Signed and sworn to under penalty of perjury this ?-_'_'l day of February 2005.

 

Amdavit of Bcn S. Casey § Page lof 1

 

EXHIBIT A-9

 

Affldavit of Gregory Towerton

State of Idaho )
ss.

County of Idaho )

I, Gregory W. Towerton, the Afflant, General Manager of WaterOz, located at 1753
Stites Road, Grangeville, Idaho 83530 a resident of Idaho County, Idaho, being over the age
of 18 years and competent to testify, according to my own personal knowledge, upon oath,
state under penalty of perjury pursuant to 28 USC §1746 as follows:

l. I married Marda Marie Hinkson June 29, 2002 after I moved from Washington, State.
Matthew Hinkson, son of David R. I-Iinkson and David Hjnkson, returned from their trip to
Ukraine immediately before the Wedding so that Matthew could serve as an usher.

2. ARer we Were married and on or about June 30, 2002, David R. Hinkson (Marie’s flrst
husband) took all of their children on a month long driving Vacation to Colorado, Nevada and
California. They called us as they returned to Boise, Idaho approximately the last day of July
2002 and invited us, and my children who Were living With me at the time, to come to Boise
and meet them to participate in a waterpark experience

3. I took Marie and my children to Boise, Idaho on or about July 31, 2002 and watched as the
children played in the Waterpark facilitates. I drove Marie and my children back to our home
in Grangeville, Idaho on the night of July 31, 2002,

, 4. By the evening of August l, 2002, David had returned his children to live With Marie and
me at our home in Grangeville.

5. Early in the morning of August 2, 2002, David picked up his children to take them boating
for the day at Dworshack Reservoir near Orofmo. David returned his children Eom their day
at the reservoir to my home in Grangeville by the middle of the evening on August 2, 2002,

6. I learned that David was set to leave early the next morning, August 3, 2002 on a business
trip that would last about three months. The flrst leg of that journey was to Venezuela. I
knew that the children would not see their dad for several months so that having him spend
so much time with them in July and around the first and second of August was justified as far
as the sharing of visitation time between Marie and David Was concerned. As long as my
Wife approved of that arrangement, it was fine With me; and she did .

7. We heard from David periodically as he Was in faraway places like Russia or the Ukraine
and he did not return to Idaho County until the first of November 2002.

8. I learned that there had been a raid by some Federal Government agencies at David’s
house near his WaterOz factory on November 21, 2002. David Was charged and then
released on his own recognizance at that time,

Affldavit of Gregory W. Towerton - Page l

 

9. David was in Idaho County and available to visit his children at Thanksgiving and
Christmas 2002, although I am aware that he went to a health conference in Southern
California in early December and was gone for about a week.

10. I learned that David was again arrested and put in jail in early April 2003 over a question
of violation of conditions of his pretrial release.

ll. In the spring of 2003, I received a phone call from David when he was calling his
children to have phone visitation with them from jail. He asked me if I would be interested in
working for WaterOz. I explained that I had a good job with the Idaho County Sheriff"s
Office with pension benefits etc., and so I would have to take a serious look at the
opportunity at WaterOZ to make it Work for me. He invited me to go out to the factory on my
day off and check it out. He said I could speak to Jeri Gray, the manager.

12. I had a further telephone discussion with David in mid-June 2003 and he referred me to
his attorney at the time, Mr. Britt Groom, of Grangeville, Idaho, who agreed to answer some
specific questions regarding WaterOz. I set an appointment and traveled over to Mr.
Groom’s office for that purpose by early July 2003,

13. At that appointment with Mr. Groom, a Richard Bellon, paralegal working for David
Hinkson, also attended.

14. Shortly after I arrived, I heard shouting in the reception area of Mr. Grooms office and
then saw the man who was yelling, who was later identified to me as Joe Swisher. Mr.
Swisher, who appeared to be somewhat disabled, Was enraged because he said David
Hinkson owed him $10,000 that he claimed had not been paid and he was yelling at the
receptionist insisting that this bill had to be paid right then. It became clear that the bill he
Was talking about was a past due amount he said was payable by WaterOz. Mr. Swisher was
very upset and said that if Mr. Hinkson did not pay the bill he, Mr. Swisher, would
personally go to Boise and testify against him and see that he spent the rest of his life in
prison. I did not meet Mr. Swisher at that time as I felt he was too agitated to have a rational
conversation with me, or anyone else.

15. From my years of training as an investigator in law enforcement for the US Government
and as a deputy for the Idaho County Sheriff’s Off`ice, I could see that Mr. Swisher was using
extortion tactics, threatening great harm in order to obtain some financial obj ective. If
investigated, this conduct by Mr. Swisher was either extortion or blackmail.

16. I would have reported the threats to the Grangeville PD except Mr. Groom, the attorney
for Mr. Hinkson and Mr. Bellon, the paralegal for Mr. Hinkson both assured me that they
would take care of it and that there was some mistake and Mr. Hinkson did not owe the
amount which Mr. Swisher claimed and I Was assured that the attorney for Mr. Hinkson
would handle it.

Aff`idavit of Gregory W. Towerton - Page 2

Swisher billed WaterOZ $12,000 for the purchase of an outdated Atomic Absorption or AA
Machine that David did not agree to purchase because WaterOZ had already purchased an
ICP machine. Subsequently, I learned that a third party claimed he owned the AA Machine
which Mr. Swisher Was trying to sell to David. This bill was disputed and never paid.

23. Until his visit in mid-September, I became aware that Swisher would not come inside
WaterOZ since he had been banned by Mr. Hinkson in January 2003. However, Mr. Swisher
periodically stopped by to pick up minerals which Were taken out to his vehicle and delivered
to him. This was based on an arrangement he had made With ]eri Gray.

24. Aiter Mr. Swisher was defeated in his takeover attempt with Mr. Bellon, he developed a
new scheme to extort property from David involving the filing of a counterclaim in the TRO
lawsuit, demanding the payment of $500,000 and delivery of title to property including a
three story office building, 20 acres behind the factory and a Road Patrol road grader. These
items were demanded by Mr. Swisher in the TRO lawsuit, which claims were resolved
Without any of these items being transferred to Mr. Swisher.

25. In his testimony on January 14, 2005 in the Solicitation trial against David, Swisher
claimed that Hinkson considered him to be his “best friend” and alleged that as a
demonstration of such friendship Hinkson had given him the following items of valuable
property: (l) $500,000.00 in cash; (2) a three-story office building that was under
construction and nearly f`lnished, which Swisher claimed Hinkson said he “didn’t need” (a
building Hinkson Was constructing as a call center for telephone sales and marketing
personnel); (3) a “Road Patrol” road grader (Hinkson did not own a Road Patrol grader);
and (4) Twenty 20 acres of real property behind the WaterOZ factory (there was only a steep
canyon behind the factory.) F rom my investigation of these matters I determined that these
items of property had not been given to Mr. Swisher but were still in Mr. Hinkson’s name, so
that these statements were untrue, but served Mr. Swisher’S plan to cause the jury to falsely
think there Was a close relationship between David and Swisher.

26. During my association with David, I saw no evidence that there had ever been a
“friendship” between them. What I saw was a business relationship that failed because Mr.
Swisher had not delivered accurate reports on WaterOZ products. Evidence of hostility by
Mr. Swisher toward David is found in the hostile takeover of WaterOZ (by TRO) that lasted
seven days in early December 2003. Messers Swisher and Bellon were working together to
convince the Idaho District Court Judge that Hinkson’s absence from WaterOZ had created a
void in management detrimental to the business.

27. In order to obtain the TRO, Swisher and a small group of co-conspirators fraudulently
described business-related calamities so severe that the trial court was willing to give them
an ex-parte TRO seizing possession of WaterOZ in order to “save” the company from what
Swisher portrayed as certain disaster affecting over 30 Idaho County jobs at the factory.
When Swisher had achieved his goal of obtaining the TRO, he dismissed all employees loyal
to David and declared himself the CEO of WaterOz.

Affidavit of Gregory W. Towerton - Page 4

 

28. Under Swisher’s TRO and seven day management of WaterOz, valuable assets of the
company were stolen including customer lists and trade secrets belonging to Mr. Hinkson’s
business, which valuable property rights Were passed on to competitors I learned that as
soon as the TRO was entered, Mr. Bellon immediately called Dan Vaughn, a business broker
and demanded that WaterOZ be listed for sale.

Further Affiant sayeth naught.

I declare under penalty of perjury that the foregoing is correct this {§ day of April
2012.

Gregory W. Towerton

Affldavit of Gregory W. Towerton - Page 5

 

EXHIBIT A- l 0

 

 

 

NORTHWEST ANALYT|CAL, |NC.
acute 1, Box 166, cononwood, lo 83522
203-962-7190/Fax 208-962-5114

 

Bi|led To Address lnvoice No. Dote
41655 04/01/03

 

Woter Oz Route 1,
Grongevi|le, |dclho 83530

 

 

 

 

 

Jonuory17, 2003
Leose Purchose Agreement for lease/purchase of

Perkin Elmer Atomic Absorption Spectrogroph

Price Agreed Upon $12,000.00
Poyob|e @ $1,000.00 Per Mom`h

No Poyments Received us of This Dote

Amount Due and Poyob|e $12,000.00
TOTAL DUE This lnvoice $125000.00
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EXHIBIT A-l l

 

 

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EXHIBIT A- 12

 

2002-SFC~715-0054~J
Page 2 of 3

1. |NTRODUCTION:
This.case was referred to the OCI San Francisco Resident Office by the FDA`s Seattie District Office
(SEA-DO). WATER OZ distributes water products containing a variety of minerals throughout the United
Stales, in addition lo other products including ozone:generators. Subsequently, this office was contacted
by the internal Revenue Service.,Criminai investigations Division. (iRS-CID) and was informed that they
are conducting a criminal investigation of'W/-\TER OZ and DAV|D HlNi<SON. On November 21, 2002,
|RS-ClD'and OC| agents executed a search warrant at the WATER OZ manufacturing facility located
outside of Grangevilie, lD. DAV|D HlNl<SON was also arrested at this time, based on a previous
indictment for failing to tile income tax returns, introducing misbranded and adulterated drugs into
interstate commerce. and other related charges

This is a joint case with the iRS~C|D, Boise, lD, case number 930030015.
SA'Bienkins_op makes reference to a Report of investigation (RO|)_ for the period 04/30/03 to 7/29/03.

This RO| documents the discovery of a radio interview DAV|D HlNl<SON gave, the criminal history of
RICHARD BELLGN, the use of cyanide at WATER OZ, and the rescheduling of the trial date ‘

2. DETAILS OF lNVESTlGATlON,:
On August 4, 2003, SA tillenkinsopl after using a search engine on the lnternet, located the web site
"thecitherradionetwori<.com"l which has posted an interview DAViD l-llNKSON gave on January 8, 2003. ,
A "streaming" copy of this interview was copied onto two audio cassettes, which were subsequently §
inventoried as item i on Certified inventory of Evidence (ClE) form 124860,

During the interviewl HINKSON makes a number of allegations including the fact that agents planned on
murdering him during the execution of the search and arrest warrants executed on November 21. 2002.
HlNl<SON also claims that Assistant U.S. Attorney Nancy Cool< forged signatures on the grand jury
indictment and on the search warrant _ 1

During a court hearing on September 26, 2003, before U.S. District Court Judge V\/inmilil an individual
identifying himself as legal assistant RICHARD BELLON, appeared with HlNKSON’s attorney Brit Groomt
BELLON had previously been identinad as the current manager of WATER OZ. A request was made
with OCl‘s investigative Analysis Branch (IAB.) for additional information on BELLON.

According to information supplied‘by lAB. BELLON was convicte of assault on a federal officer in 1994,
and was sentenced to five months in federal prison. In additio LLON has hundreds of thousands of
dollars in outstanding federal tax liens Appended at Attachment 1 is a Subject History Form for

BELLON.

SA B|enkinsop subsequently reviewed the Eastern District of Ca|ifornia's case file for details of BELLON's
conviction BELLON was convicted o'f two separate unrelated assaults on federal officers one of which
required medical attention for the officer_ BELLON was also convicted of 26 U.S.C. § 7212(a), Forcible'
lnterfer`ence; and, 26 U.S.C. § 7212(b) Forcible Rescue Of Seized Property. This information regarding §
BELLON`$ assault convictions was forwarded to the United States Marshal's Service in Boise, iD.

 

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EXHIBIT A-13

 

NORTHWEST ANALYTICAL, |NC.

Rouie ll Box 166, Cotionwood, iD 83522
208-962-7190/FQX 208-962-51i4

 

Bi|led To Address invoice No. Doie

 

 

Woter Oz Rouie i, 41679 05/27/03
Grongevi||e, |doho 83530

 

 

 

 

 

Atiention: Geri

Rich

Brii
Previous Boicince as of Februory i4, 2003, invoice No. 41620 $ 2,297.00
Poyment of April 28, 2003 $ 738.00
Bo|once Due from invoice No. 41620 $ i,559.00
Previous science as of Morch 28,'2003, invoice No. 41654 s 3,936.00
TOTAL DUE This invoice $ 5,495.00

=

This Debt is long overduel lf a payment is not made immediately,
we will regrettany be forced to take other action.

EXH|B|T

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EXHIBIT A- 14

 

Joe Swisher

 

____________-__________
304 GARRETT ROUTE l. BOX 119
(208) 962-7190 COTTONWOOD. |DAHO 83522

February 2, 2003

S.V.L. Anaiyticai, lnc. -
One Government Way
P.O. Box 929

Ke||ogg, idaho 83837

Attention: Dave

Dear Dave:

Enclosed please find water sample as previously discussed. Wouid you please
test for cyanide and potassium and tax results to me at 208-962-5114. P|ease
send originals via U.S. Maii as before. Thank you.

P|ease charge to our idaho Mining and Deveiopment account

 

JS/b

Enclosures

EXH|B|T

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EXHIBIT A- l 5

 

Affidavlt of Joe Swisher

|, Joe Swisher,_ being first duly sworn on my oath, deposes and says:

1. l am familiar with ali the facts contained in this Afiidavit and l am competent
to testify to those facts of my own knowiedge.

2. From about August 1, 2001 through September15, 2002, l periodically
worked with a man who called himseif, Chris Jon Paitreyot.

3. lt was my understanding that Chris Jon Paitreyot worked for WaterOZ and
Was responsible for adding the minerals to the tanks and manufactured the mineral
concentrates that Were added to the tanks.

4. Mr. Paitreyot represented himself as a chemist and told me his job at
WaterOZ was to make the mineral concentrates, mix the mineral concentrates in the
tanks and make sure the product was tested before bottling.

5. lVir. Paitreyot brought me samples of What he call finished concentrates and
products on a regular basis.

6. i\/lr. Paitreyot hand delivered samples to a laboratory l work for located at
605 Peasiey, Cottonwood, idaho.

7. l\/lost of the samples delivered by Mr. Paitreyot tested within normal limits
(excepting concentrates, of course).

8. in Juiy of 2002, l personally took samples at the WaterOZ factory of tank
solutions. Testing indicated that the tanks had been diluted with Well Water and the
elements were much lower than required.

9. l immediately called for a meeting With iVir. Paitreyot and others and
reported What l believed was sabotage of the product. l suggested security measures

and lVir. Paitreyot informed me he would make sure the product Was as stated on the

labels.

EXH|B|T

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10. Thereafter, l\/ir. Paitreyot made a number of trips to the Cottonwood lab
facility with many samples. By mid-September, the samples Mr. Paitreyot was
bringing to me checked higher and most were within normal limits.

11. On September 15, 2002, | experienced a complete heart block which
resulted in the insertion of a dual pacemaker.

12. l\/ir. Paitreyot called me on a weekly basis to see how l was doing and to
determine when l might be back in the lab and be able to pick up plant samples

13. On or about November 11, 2002, l\/lr. Paitreyot called me to check on my
condition. He wanted to know how l was feeling and when i could resume testing. |
told him that l would be back to resume testing in a week.

14. On or about November 18, 2002, l learned that Mr. Paitreyot had
disappeared l was surprised to learn that he had left town.

15, l Went by the WaterOz factory on November18, 2002 and picked up
samples for testing.

16. On or about December 15, 2002, as l finished testing the products, l
discovered that nearly all of the samples were short of mineral and the amount of
mineral actually in the bottles did not match the displayed amount of mineral as
appearing on the label.

17. Pursuant to testing batches that were delivered by Mr. Paitreyot to our
iaboratory, prior to November 15, 2002 and rerunning the tests after he left town, i can
only conclude the samples Mr. Paitreyot delivered to me had been altered to read
extra high and these samples were not reflective of the product that had been bottled
at the plant. l believe l\/ir. Paitreyot was the only person who had the access
necessary to do this. lt is my conclusion based upon testing that the product was

probably sabotaged by Mr. Paitreyot.

Affidavit of Joe Swisher -2- _
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_ 18. | believe he left town because he knew l would resume testing of the
products by the end of that week.
19. lt is my belief that tampering was done by Mr. Paitreyot to make our
laboratory testing match the stated amounts on the labels.
Furthermore, your affiant saith naught.
Dated this _q_}_ day of January, 2003.

 

-.»

Subscribed and sworn to before mathis 3 ~ day of January, 2003.

(y fka

Notary Ptibiic in--and for the State of idaho
w Residing at Cottonwood, ldaho, therein.

l\/ly commission expires: Z~/é '-.LM.J

W Affldavlt of Joe Swisher -3-
227

 

EXHIBIT A- l 6

 

OFFICIAL TRANSLA TION

Ministry of Health

 

Kharkov State Medical University
Subsidia.ry Company
Testing Center

 

61022,. Kharkov -22 Attested by MOH of Ukraine
4, Lemn pr. Room 155 CectiEcate No. 164 dated 29 _]un.2000
Tel. 40-5459, 40~2657 Accredited by State Standard Committee of Ukraine

Register No. UA 6.001.H.499 dated 02 Nov. 1999

 

PROTOCOL

OF STATE SANITARY AND HYGIENICAL EXPERTISE
No. 372/V'I`S-12.02 dated 24 December 2002,

1. Name Bd area of usage of the product: 1) concentrate for making mineral water “WaterOz
Concentrate”; 2) Mineral Waters “WaterOz”.

2. Mat ' s nd o ounds man cturedb . “WaterOz” company, U.S.A.

3. Ogdged b¥: representative of WaterOZ company in Ukraine. Ponomarenko R.].

4. §amgles manufacturing (submis§ion) datg: November 2002
5. A_U,Lv_sis_gi_a§§ from 20 Dec. 2002 ti]l 28 Dec. 2002,

6. T;Lpe of ansti§: Measurement of concentration of chemical elements

Name of Product
Concentrate End Product

1 , 2 3
1. Boron
2. Iodine
3. Sulfur
4. Gold 24
5. Silver 505. 0
6. Platinum 7 1
7. Indium
8. Potassium 198.
9. Calcium 270. 0
10. Lithium 14 0
11. ' 100.000 0
12. 280.000
13. Cobalt 1 16.400

 

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?l

14. Chromium 5. 0
15. Tin Traces

16. 42.500 100 0
17. Iron 11 4 1 8
18. Zinc 99.000 0 1 0

19. Selenium

20. Vanadiu.m

21. M

22. Water of Life

- Calc.ium

- Chromiurn 15

- 45

- Silver

- Plau`num 17 17

 

NOTE: Water of Life sample contains other unknown elements that influence the results of quantitative
analysis. '

Head of /Signature/ V.O. Korobchansky
Testing Center

Kharkov State Medical University

Doctor of Medicine, professor

/Signatu.re/ T.O. Ivanenko
Head of Sanitary and Hygienic
Laboratory, Doctor of
Pharrnaceuu`cal Sciences
[Oval Stamp:
Ministry of Health of Ukraine
Kharkov State Medical University
Testing Center
No. UA6.001.H.499]
Oflicial translation made by
“MOST Translation Serviccs"
Subsidiary of “lnt`or" Private Company
Klev. Ukraine. Date: 26 Dec. 2002
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/2‘{

 

David R. Hinkson, #08795-023
USP Atwater

U.S. Penitentiary

P.O. Box 019001

Atwater, California 95301

In Propria Persona

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF IDAHO

 

 

UNITED sTATEs OF AMERICA ) ease #; CR-04-0127-s-RCT
)
Plaimiff, )
) DEFENDANT HiNKsON’sMEMoRANDUi\/r
vs ) iN sUPPQRT 01= GROUND Two: JUDICIAL
) BIAS AND JUDICIAL MISCONDUCT As ls
David Roland Hinkson, ) HEREBY APPENDED To HINKsoN’s
) MOTION To VACATE THE CONVICTION
Defendanr. ) AND sENTENCE UNDER sECTloN 2255,
) TITLE 28 Usc.
)

 

Memorandum in support of Hinson’s 2255 Motion to Vacate the Conviction and Sentence,
Ground Two: Judicial Bias and Judicial Misconduct.

I, David Roland Hinkson, the defendant herein, am a person who is actually innocent, a
person who has been wrongfully imprisoned and falsely convicted of crimes that never occurred, and
who has been sentenced to prison for effectively the rest of my natural life for crimes that I did not

commit.

Memorandum in Support of Hinkson 2255
Ground Two: J udicial Bias and Misconduct -l-

 

l. l was convicted solely because of the testimony of E.J. Swisher, a proven government
perjurer. His testimony was the sole meaningful evidence against me and without help from
the bench, the government would never have been able to sustain its case.

2. l have obtained the information shown herein that it was impossible for me to have solicited
Swisher together With other errors that deprived me of my Constitutional rights in the trial
thereof. The proof now shows that Swisher fictionalized the crime of torture-murder for hire
as a part of his plan of extortion and out of spite and malice, or for other reasons known only
to Swisher, against me because he could not extort money out of me nor could he intimidate
me into signing over a one-half interest in my WaterOZ business (see Affidavits attached to
my § 2255 Motion filed contemporaneously herewith).

a. Swisher’s medical records were withheld by the government and their ability to
subvert the path of justice was sustained by Judge Tallman in his rulings

b. Swisher’s perjury was known to both the government AND to Judge Tallman from
at least (if not before) the presentation of the Dowling Report, Which identified

Swisher as a liar, a fraud and a perjurer. Judge Tallman’s ruled to exclude the

OFFICIAL military record of witness Joe Swisher. Judge Tallman deliberately

misinterpreted Evidence Rule 608(b) and ignored a recent revision of said rule to

curb the very misapplication as being postured by Judge Tallman.

i. Judge Tallman fabricated information from the bench as to the content of
Swisher’s military file in order to create a fact, i.e., the existence of evidence
that Swisher went to Korea, when such evidence did not exist in Swisher’s
military file. Then Judge Tallman relied upon that false finding of fact to

Memorandum in Support of Hinkson 2255
Ground Two: Judicial Bias and Misconduct -2-

 

make his ruling that excluded the exculpatory evidence contained in
Swisher’s military file that Would have saved me from a conviction If the
jury had learned that Swisher Was lying to them about his combat hero status,
they would not have believed him when he said that l was soliciting him to
torture-murder federal officials and the Albers family.

ii. ln that erroneous ruling, Judge Tallman showed a reprehensible lack of
judicial conscience and an amazing amount of brashness When he decided
that exculpatory evidence impeaching the direct trial testimony of Swisher
could not be introduced because supposedly - but incorrectly - it
concerned an out of court matter which was a collateral subject.

iii. The point is that the government is the one that opened the door to this
subject in its opening statement by identifying Swisher as a combat hero.
Then, it was Swisher’s own testimony by falsely wearing on his lapel an
unearned Purple Heart Medallion Without authorization, that identified him
as a Wounded combat veteran. Combined With his other falsely claimed
military awards, which he backed up With a forged DD~214. Swisher was the
prosecution witness who had obviouslybeen prepared byprosecutor Sullivan
in advance to pull that forged DD-214 from Sullivan’s pocket when Swisher
was asked on cross, ‘by what authority’ he was authorized to wear the Purple
Heart. At that moment, prosecutor Sullivan pulled his copy of that forged
DD-214 from his pocket to show to the trial court and jury clearly indicating
that he also was in on the scam.

Memorandum in Support of Hinkson 2255
Ground Two: Judicial Bias and Misconduct ~3-

 

iv. When asked why he had not disclosed that document in advance, prosecutor
Sullivan asked Attorney Hoyt, in a sneering tone, “Why should I?” Judge
Tallman did not admonish the prosecution for its complicity in the crime that
was being committed in his presence; the crime Was the felony subordination
of perjury and knowing presentation of a forged document, these crimes
constituted a fraud on the court and on Mr. Hinkson (remember, Swisher was
convicted for perjury April lO, 2008 for saying exactly the same thing before
a federal ALJ in the context of his VA application for benefits); then to
compound the crime, Judge Tallman and the prosecutor Went on to commit
the crime of misprision of a felony by failing to have Swisher prosecuted for
his perjury and forgery. Eventually, Swisher was prosecuted, because the
Inspector General of the United States, upon complaint of the Secretary of the
Veteran’s Administration insisted that he be prosecuted for the same crimes
that were committed by Swisher before a Administrative Law Judge in a VA
hearing in 2004, which all happened before my trial. And the US Attorney
for the State of Idaho refused to bring the prosecution so that a special
prosecutor had to be designated from the State of Montana in order to
prosecute Swisher in Idaho because the government and Judge Tallman
conspired, as a part of the payoff to Swisher, not to prosecute him for his
crimes committed in the court room in my case. And, even though Swisher
was prosecuted, tried and convicted of three felonies totaling 30 years plus
a misdemeanor of theft of valor, he ultimately received a soft sentence of one

Memorandum in Support of Hinkson 2255
Ground Two: Judicial Bias and Misconduct _4_

 

year and one day from the Idaho District Court Judge who refused to look at
or review 30 petitions from U.S. former military who were Idaho citizens
who were outraged that Swisher had defrauded them for years with his claims
ofKorean War Era combat heroism and Swisher Was again allowed to get off
easy because he was assigned to a “country club” prison where he
complained that his bed Was too hard for the few months he was incarcerated.
Not much of a slap on the wrist for a man who had spent his lifetime
perfecting the art of fraud.

c. Judge Tallman repeatedly engaged in improper coaching of the prosecution attorneys
to assist them in obtaining a conviction; he was practicing law from the bench and
was not serving a judicial function when he was so engaged and that certainly was
not conduct becoming of a truly neutral arbiter. (See trial record.)

3. It was the prosecution who brought up the subject ofSwisher being a combat hero in opening
and therefore it was not invited error by the defense. It was Swisher who testified by wearing
the Purple Heart that on direct examination constituted testimony of being Wounded inbattle,
which was consistent with the prosecution’s theory that he was supposed to have had an
impressive military record on a secret mission Such Was the theory of the prosecution, not
the defense. The government’s theory was that it was Swisher impressive award laden
combat service record that supposedly enticed me to solicit him to kill other human beings;
but, the first time I ever heard of this story was When Swisher testified in trial. The facts of
this case and the conviction of Swisher in his own case absolutely prove that this entire story
was concocted out of whole-cloth and was perjured testimony in front of the jury. If this had

Memorandum in Support of Hinkson 2255
Ground Two: Judicial Bias and Misconduct -5-

 

been proven before a reasonable and rational judge would have stricken the Swisher

testimony or ordered a mistrial sua sponte. Judge Tallman himself concocted a story to

support Swisher’s lies. Judge Tallman found that the hostilities in Korea has never officially
been terminated (TR pg 1124, ll 13-21) Which was false, and Went on to make another false
finding of a fabricated fact that supported Swisher’s fraud when Judge Tallman claimed that

Swisher’s military record, Which was sitting in front of him (on the bench in front of him at

the time) had information that indicated Swisher had served in Korea and that it was possible

for him to have gone on a secret mission, even after the Dowling Report specifically
provided that Swisher did not. fee §§_¢ 5 Especially When Swisher’s official military record

_ was being reference by Tallman was subsequently proved exactly the opposite. This
malicious fabrication can only have been done to allow perjured testimony to stand, to
prevent the jury from discovery of the truth and to assist the prosecution in suborning said
perjury and thereby materially helping to insure my conviction

a. Under the case of Porter v. McCollum, 130 S.Ct. 447, 175 L.Ed.2d 398 (2009), the
US Supreme Court recognized that American juries give high credence to an
individual with an honorable military service record.

b. Because of this fraud on the jury, it is certain that unless rebutted, Swisher’s
credibility was enhanced to the point that it was unassailable (Without proof of his
fraud as to his military career). That is, using his military record against him, to
impeach his credibility was not collateral at all, because it dealt with a specific lie
told by Swisher under oath, in the presence of the jury which was predicated on, and
key to, the government’s theory of the case.

Memorandum in Support of Hinkson 2255
Ground Two: Judicial Bias and Misconduct -6-

 

c. Thus, such testimony was outside the prohibition of Rule 608(b) which had
previously been amended to prevent misapplication in instances just such as this; the
difference between a specific instance of lying that Was not admissible is that such
a lie was told outside the court room, and thus was to be considered as collateral
Because introduction of Swisher’s military record would have impeached Swisher
on his bogus claim as a wounded combat veteran who had supposedly attracted me
to hire him to commit murder. lt is clear that, Judge Tallman didn’t want Swisher’s
testimony impeached and so he had to find a Way, bogus though it was, to exclude
Swisher’s military record, the absolute proof that he was lying.

d. Under P_or_tg, there is recognition that such a witness obtains the status of an
unassailable super hero in the eyes of the jury, whom the jurors would treat
favorably, and may not suspect them of lying. Therefore, the jury Was likely to
accept everything Swisher said, including the lies he told about me as if l was some
depraved psychopath Who was begging him to torture-murder women and children.

4. Additionally, it turns out that at the very time that Swisher perjured himself and said he had
been solicited by me in 2002, he was in a coma, or bedridden from a heart attack and was
intubated for over a year from early June 2002 at all the times he said I was soliciting him

(See Affidavits attached to Memorandum Supporting Ground One). During those times, I

was out of Idaho and in fact, was out of the USA. Being intubated he was absolutely

incapable of having any such communications with anyone about soliciting him for murder
and his medical records would show those dates (discovery of these medical records is
needed to prove the exact dates of medical treatment and physical condition). From the date

Memorandum in Support of Hinkson 2255
Ground Two: Judicial Bias and Misconduct -7-

 

of his June 2002 heart attack to July 2003, Swisher was disabled and even though he was not
in a coma, the evidence is that he was strapped in a wheel chair, with a catheter and bladder
bag, wearing diapers and unable to lift himself into or out of his own vehicle and finally, by
July 2003, had worked himself up to walking with a cane. As to those times, which would
be shown on his medical records, he certainly was not in a position that anyone, me, the jury,
or any rational person, would have considered him capable of committing the act of murder.

5. Judge Tallman, Who has been an advocate for the prosecution throughout all proceedings
against me, does not have the objectivity to see that it was impossible for me to have
solicited Swisher at the times suggested by him. Nor does Judge Tallman have the
objectivity to allow discovery or hold an unbiased evidentiary hearing at which Swisher’s
medical records can be subpoenaed to determine the circumstances as to each event when
he says that I solicited him, such as when I was traveling out of the State of Idaho for up to
90 days at a time trying to start a new business or looking for a place to locate a second
factory. Such evidence would show that Swisher was in a severe and a disabled health
condition when he claims to have been solicited and was completely unavailable to
participate in such a meeting; so that the transactions for which I was convicted could not
have occurred.

6. It is like DNA evidence that once presented, it shows the defendant’s complete and total
innocence However, Judge Tallman must be removed from this case as he has proven
himself to be unreliable as an objective arbiter of any information favorable to me, no matter
how strong or exculpatory to my circumstances because of his manifest bias for the
government and prejudice against me. The point is that if he would make up information

Memorandum in Support of Hinkson 2255
Ground Two: Judicial Bias and Misconduct -8-

 

that did not exist in Swisher’s military file in order to find that there was evidence Swisher
may have gone to Korea in order to keep said file from the jury, it is not unreasonable to
assume that he will make up other information in the §2255 hearing to keep out exculpatory
evidence.

7. While the conviction of Swisher was not previously available for use in my case because the
conviction had not yet occurred, an objective court reviewing my motion under § 2255 must
now consider the effect of those Swisher’s lies upon my conviction If they were lies in 2004
before the VA and he told the same story in my case, then they were lies that constitute fraud
on me, the court and the jury. However, if Tallman is assigned the task as reviewer, then it
is likely his foregone conclusion will be not to look objectively at this evidence, but to find
an excuse to sustain his earlier erroneous position. Where, in all of western jurisprudence,
is it acceptable for the trial judge to review his own errors on appeal? This concept of

propriety goes back even before Marbury v. Maa’i.s'on.1

 

1 The second point requires showing that the law of nature itself fit Coke’s approach in Bonham’s Case and called
for application of the rule that no man should act as judge in his own cause to the facts of the case. The broader problem
is to ascertain what powers over statutes Coke was asserting in his report of the case. My argument is that far from
announcing a new or controversial approach to statutes, the case illustrates a common feature of both the law of nature
and the English common law. There is no doubt, in the first place, that acting as a judge in one’s own cause had long
been regarded as a violation of the law of nature. At another place in his works, Coke himself repeated the point, writing:
“[I]t is also against the law of nature for a man to be judge in his own proper cause.” - ARTICLE: BONHAM’S
CASE, JUDICIAL REVIEW, AND THE LAW OF NATURE, Winter, 2009, l J. of Legal Analysis 325, by R.H.
Helmholz

This was not something he had invented. The rule was found in the Digest of the Roman law, in the Codex, and
also in the medieval canon law. From the Middle Ages and into the early modern era, the proceduralists of the ius
commune repeated it as axiomatic lt was equally recognized by everal precedents in the English common law. ~
ARTICLE: BONHAM’S CASE, JUDICIAL REVIEW, AND THE LAW OF NATURE, Winter, 2009, l J. of Legal
Analysis 325, by R.H. Helmholz, Published in Oxford Journals and available at this URL:
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Memorandum in Support of Hinkson 2255
Ground Two: Judicial Bias and Misconduct -9-

 

8. 4As proof that the jury believed every word spoken by Swisher, the jury sent a note to the
judge shortly after Swisher’s testimony while, still in the prosecution’s case-in-chief, that
asked the trial court if Swisher had done a mental evaluation of Hinkson; and wanted to
know if “we” i.e., the jury should be considering insanity. That note reads:

“Your Honor, l don’t know if this is allowed for me to ask; but can
Mr. Swisher be asked about the mental capacity of Mr. Hinkson? Did
he do a clinical evaluation of Mr. Hinkson? ls David Hinkson on
medication? ls Mr. Hinkson mentally ill? Are L or are L not
supposed to consider his mental capacity?”

9. lt is clear that the jury had deliberated and decided that l was guilty. The jury wanted to
know if Swisher had examined me, The indication is that the jury had determined my guilt
at that point in the trial and were ready to move onto the sanity hearing, which was not an
issue in this case. ln fact, Swisher was psychologist and if approached to murder someone
he had a legal and ethical duty to report it contemporaneously, not two years later. lt appears
the jury had engaged in deliberations2 by illegally discussing this case and had made a
decision, that Hinkson was guilty, even before all the prosecution evidence was in and
certainly before the defense had a chance to present its evidence. The point here is that Judge
Tallman, if he had been acting as a neutral trial court judge, rather than as an extension of

the prosecution, should have, sua sponte, declared a mistrial at that moment as a result of

 

2Even if it should be determined following an examination of the jurors under oath in an evidentiary
hearing in this matter that only the one juror, Mrs. Haynes had been considering these matters, it is
still proof of juror misconduct requiring a mistrial. lt is absolutely impermissible for a juror to
consider either matters outside of What has been presented in court, it is equally impermissible for
a juror to be considering such facts prior to the close of evidence

Memorandum in Support of Hinkson 2255
Ground Two: Judicial Bias and Misconduct -10-

 

manifest juror misconduct: i.e., the jury had not followed Judge Tallman’s instructions and

were discussing the case among themselves and had deliberated and made a decision. The

facts show l did not get a fair trial with a jury that had already made up its mind.

10. Further, Judge Tallman improperly deprived me of representation by the counsel of my
choice. Judge Tallman, in response to the phony allegations by the FBI in mid-trial, which
asserted that my attorney, Wesley W. Hoyt, was involved in a plot (see Dkt #242-49) to
murder twenty-two (22) individuals, including him, as the sitting judge, ruled that my
attorney, Wesley W. Hoyt, had to withdraw from my case because he had an “irreconcilable”
conflict of interest.

a. The problem was the FBl agent had concocted a scam against me by getting inmate
Chad Croner assigned to my jail cell in Ada County. The FBl plot was to have
Croner sit in the cell with me and four other inmates long enough so that he could
claim that l solicited him to murder people.

b. That FBl plot backfired when attorney Hoyt obtained affidavits from all the other
inmates who said l never talked to Croner and he never talked to me, except once
about a tax issue. The space was so small everyone knew everyone else’s business
as were all confined in the same cage with Croner who sat silently on the top bunk
and did not participate in any conversations

c. Each of the other inmates testified by affidavit, under oath that a conversation
between Croner and l regarding my case never happened, which frustrated the FBl’s

attempt at creating another fraudulent crime to accuse me of.

Memorandum in Support of Hinkson 2255
Ground Two: Judicial Bias and Misconduct -l l-

 

d. Being frustrated that an attorney would have the unmitigated temerity to prove that
the FBI was suborning perjury and deliberately concocting fraudulent plots against
me, they decided to attack Mr. Hoyt and accuse him of the same shop-worn murder
for hire business they had been throwing at me for years, and Judge Tallman let the
government get away With this blatant nonsense when any non~biased judge or
neutral observer would have immediately seen that the FBI (government) was
inventing stories and suborning perjury.

ll. Because l was improperly denied the counsel of my choice by Judge Tallman’s erroneous
ruling to exclude my counsel from representing me, l was not represented by effective
counsel. If it is true that attorney Hoyt had an irreconcilable conflict of interest, then he was
incapable of representing me and l was not represented as of the middle of my trial when the
FBl 302 was delivered to him accusing him of participating in a murder-for~hire plot. That
means that the denial of the New Trial Motion and sentencing were erroneous because of
Judge Tallman’s ruling.

12. Judge Tallman was seen having private contact with a prosecution witness just before that
witness testified. From the public hallway, Judge Tallman’s chambers can be seen and when
the door is open, a person in the hallway can see into the center of the chambers.
lminediatelybefore he testified, the key prosecution witness, Swisher, was seen exiting from
Judge Tallman’s chambers, and was seen gesturing “goodbye” to Judge Tallman and Tallman
to him as Swisher slipped into the hallway. The US Marshals had required all parties in the
hallway to either leave the area or to advance into the court room and the courtroom door
was closed. Swisher was seen exiting from the hall door to the private chambers of Judge

Memorandum in Support of Hinkson 2255
Ground Two: J udicial Bias and Misconduct -12-

 

Tallman by attorney Wesley W. Hoyt, see EXHIBIT B, Affidavit of Hoyt, attached hereto
and fully incorporated herein by this reference, that at the very moment Swisher was exiting
from Judge Tallman’s chambers, attorney Hoyt was exiting from the men’s room, which was
across the hall and in plain view of the door to Judge Tallman’s chambers. There is no
excuse for Judge Tallman having a private conference with any prosecution witness Swisher
or others, prior to testimony especially one which is a proven government perjurer. lt was

reprehensible conduct and should be the basis for recusal and a new trial,

FOR THE FOREGO]NG REASONS, the conviction and sentence in this matter should be

vacated forthwith

Memorandum in Support of Hinkson 2255
Ground Two: J udicial Bias and Misconduct -13-

 

